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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

   AMAZON.COM, INC. and AMAZON DATA
   SERVICES, INC.,
                 Plaintiffs,
          v.
                                                              CASE NO. 1:20-CV-484-LO-TCB
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN WATSON;
   STERLING NCP FF, LLC; MANASSAS NCP FF, LLC;
   NSIPI ADMINISTRATIVE MANAGER; NOVA WPC
   LLC; WHITE PEAKS CAPITAL LLC; VILLANOVA
   TRUST; CASEY KIRSCHNER; ALLCORE
   DEVELOPMENT LLC; FINBRIT HOLDINGS LLC;
   CHESHIRE VENTURES LLC; CARLETON NELSON;
   JOHN DOES 1-20,
                 Defendants.

   800 HOYT LLC,
                 Intervening Interpleader Plaintiff /
                 Intervening Interpleader Counter-
                 Defendant,
          v.
   BRIAN WATSON; WDC HOLDINGS, LLC; BW
   HOLDINGS, LLC,
                 Interpleader Defendants,
          and
   AMAZON.COM, INC., and AMAZON DATA
   SERVICES, INC.,
                 Interpleader Defendants / Interpleader
                 Counter-Plaintiffs.

    BRIAN WATSON’S MOTION TO COMPEL NON-PARTY IPI PARTNERS, LLC’S
                 COMPLIANCE WITH RULE 45 SUBPOENA

         Movant Brian Watson (“Mr. Watson”), by counsel and pursuant to Federal Rule of Civil

  Procedure 45(d)(2)(B)(i), hereby moves this Court for an order compelling non-party IPI Partners,
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  LLC (“IPI”) to comply with a subpoena duces tecum (the “Subpoena”) served by Movant in

  connection with this case.

         As detailed in the accompanying Memorandum of Law in Support of Brian Watson’s

  Motion to Compel, the parties have met and conferred in an effort to resolve this dispute and have

  been unable to reach a resolution. During meet-and-confer discussions regarding IPI’s response

  to the Subpoena and in subsequent correspondence, IPI has stated that it will not produce several

  categories of documents that are responsive to the requests contained in the Subpoena. Mr. Watson

  therefore seeks an order of this Court compelling IPI to comply with the Subpoena by producing

  materials that are both responsive and necessary to Mr. Watson’s defense in the above-captioned

  litigation. IPI consents to the filing of this Motion in this Court.

         In support of this Motion to Compel, Mr. Watson submits the accompanying Memorandum

  of Law, the Declaration of Jeffrey R. Hamlin in Support of Brian Watson’s Motion to Compel,

  and accompanying exhibits. Mr. Watson also submits a Proposed Order granting this Motion to

  Compel and a Notice of Hearing.

         WHEREFORE, Mr. Watson respectfully requests that the Court grant his Motion to

  Compel.


  Dated: April 11, 2022                                  Respectfully submitted,

                                                         /s/ Jeffrey R. Hamlin                .
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